Case 2:15-cv-01637-JMV-MF Document 36 Filed 09/28/16 Page 1 of 1 PagelD: 187

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

JAVIER TORRES,

Plaintiff,
-against-

INVESTORS BANK BANK/ aka
INVESTORS SAVINGS BANK;
CITIMORTGAGE, INC.; JOHN
DOES I-X,

Defendants.

 

 

Civil Action No. 15-01637 (JMV)(MF)

Hon. John Michael Vazquez, U.S.D. J.
Hon. Mark Falk, U.S.M.J.

(Document Electronically Filed)

STIPULATION OF DISMISSAL WITH
PREJUDICE AND WITHOUT COSTS

IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff Javier Torres,

and Defendants Investors Bank and CitiMortgage, Inc., by and through their respective

undersigned counsel, that the above-captioned action be and the same hereby is dismissed in its

entirety with prejudice, with each party to bear its own attorneys’ fees and costs.

Dated: an

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